Case 1:18-cV-00525-E.]L Document 1 Filed 11/21/18 Page 1 of 8

Susan Lynn Mimura

V. Renee Karel

Terry K. Martin

SUSAN LYNN MIMURA & ASSOCIATES, PLLC
Attorneys at LaW

3451 E. Copper Point Drive, Suite 106

Meridian, Idaho 83642

Telephone: (208) 286-3140

Facsimil.e: (208) 286-3135

E-mail: slm@idahoattys.com
ldaho State Bar No. 3033, 9050, 3475

Az‘l‘orney(s) for Plaintijj‘

IN THE UNITED STATES DISTRICT COURT

IN AND FOR THE DISTRICT OF IDAHO

AARON ST. GEORGE, Case No.
Plaintiff, ` COMPLAINT

Vs.

PEAK RECOVERY LLC and

MICHONNE PIEKSMA in her official
and individual capacity.

Defendants.

 

 

COMES NOW, Plaintiff, AARON ST. GEORGE, by and through his attorney SUSAN LYNN
MIMURA of the Firm Susan Lynn Mimura & Associates, PLLC, and for a cause of action
against the above-named Defendants does complain and allege as folloWs;
NATURE OF THE CASE
l. Plaintiff (“Aaron”) is suing as a former employee of Defendant PEAK RECOVERY LLC

pursuant to the Fair Labor Standards Act (FLSA) U.S.C. §§ 201 et seq. This action

COMPLAINT
St. George v. Peak Recove)y LLC and Pieksma

Case No. 1 _ 1 _

 

Case 1:18-cV-00525-E.]L Document 1 Filed 11/21/18 Page 2 of 8

alleges that the Defendant violated the Wage and hour provisions of the FLSA by
depriving Plaintiff of his lawful overtime Wages.

2. Plaintiff is suing former supervisor MICHONNE PIEKSMA in her individual capacity
for slander per se under the theory of negligence

3. This Couit has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 since the case is
brought pursuant to the FLSA.

4. Venue is proper in the Third Judicial District of Idaho pursuant to 28 U.S.C. §§ 1391(b)
and 1391(€) because Defendants are located in the District of ldaho and, as detailed
beloW, a substantial part of the events and omissions giving rise to Plaintift` s claims
occurred in the District Idaho.

PARTIES

5. Plaintiff AARON ST. GEORGE (“Aaron”) is an individual and is noW, and at all times
relevant herein, resides in the State of Idaho, County of Canyon.

6. Defendant PEAK RECOVERY LLC is an Idaho Limited Liability Company (“Peak”)
and is noW, and all times relevant herein, a business With its principal place of business in
the State of Idaho, County of Canyon.

7. Defendant MICHONNE PIEKSMA (“Defendant Pieksma”) is now, and all times
relevant herein is a resident of the State of ldaho, County of Canyon. She is also one of
the members of Peak Recovery LLC. and acted as the man

8. Plaintiff is informed and believes and thereon alleges that Defendant Pieksma Was at all

times herein relevant the principal and agent of Defendant PEAK.

C()MPLAlNT
St. George v. Peak Recoveljy LLC and Pieksnza
Case No. - 2 -

 

Case 1:18-cV-00525-E.]L Document 1 Filed 11/21/18 Page 3 of 8

STATEMENT OF CLAIMS
COUNT 1 ~VIOLATIONS UNDER THE FLSA

9. Aaron was hired by Peak Recovery on September 8, 2016. At the time he was paid
$15.00 an hour as a full-time employee without benefits His title was Case l\/lanager.

10. Prior to and during employment Aaron logged the hours he worked to become ldaho
Student of Addiction Studies (lSAS) certified and Certified Alcohol and Drug counselor
(CADC) under the rules and governing authority of the ldaho Board of Alcohol and Drug
Counselor’s Certification (IBADCC).

11. On February 1, 2017, Aaron received his license as a certified Alcohol and Drug
Counselor and his title changed to a Alcohol and Drug Counselor.

12. Aaron received a raise following his yearly review and was paid $18.00 an hour as a full-
time employee

13. From February, 2017 to January, 2018 Aaron held group counseling sessions in the
evenings, of which the group of clients paid Peak Recovery for Aaron’s counseling
services.

14. Prior to January, 2018 Aaron was “on-call” to perform weekend drug tests for male
clients. He was not compensated for his time worked nor being on~call.

15. lt wasn’t until just prior to Aaron’s separation from employment at Peak Recovery, that
he became aware of the fact that he was entitled to overtime pay for hours worked in
excess of 40 hours in a workweek. Following that notification, his paychecks thereafter
did not reflect the actual hours he worked in excess of 40 during the workweek that he

worked.

COMPLAINT
St. George v. Peak Recover LLC and Pieksma
Case No. - 3 -

 

Case 1:18-cV-00525-E.]L Document 1 Filed 11/21/18 Page 4 of 8

16. Aaron was informed by Peak Recovery Accounting personnel that he was in fact entitled
to compensation for past hours worked, and that Peak Recovery would have to pay him
backpay.

17. Aaron worked in his capacity as a Drug and Alcohol Counselor until March 19, 2018,
when Defendant Pieksma told Aaron that she “had to” fire him, without cause, and would
rehire him after a six (6) month period.

18. Defendant Pieksma told Aaron when she fired him that he would have to wait for “the
sexual allegation to blow over.” Aaron was never advised that there was any allegations
made against him, nor was he ever questioned about any such incident or complaint
during his employment

19. Aaron was advised by Peak Recovery that he should file for Unemployment Benefits,k and
that Peak Recovery would not obj ect.

20. From September 8, 2016 until September 8, 2017 Aaron worked 12.5 hour days for 251
days at a rate of$15.00 an hour. Aaron worked a total of 3137.5 hours over the 251 days.
Aaron was paid for 8 hour days at straight time and nothing for hours worked in excess of
the 40 hour work week, i.e.: 2008 hours straight time. However, was not paid for 1129.5
hours of overtime. Aaron is entitled to compensation for approximately 1129.5 hours of
unpaid overtime, calculated at $25,413.75.

21. From September 8, 2017 until approximately l\/larch 1, 2018 Aaron worked 12.5 hour
days for 117 days at a rate of $18.00 an hour. Aaron worked a total of 1462.5 hours of the
117 days. Aaron was paid for 8 hour days at straight time and nothing for hours worked

in excess of the 40 hour work week, i.e.: 936 hours of straight time. However, was not

COMPLAINT
St. George v. Peak Recovery LLC and Pieksma
Case No. _ 4 _

 

Case 1:18-cV-00525-E.]L Document 1 Filed 11/21/18 Page 5 of 8

paid for 526.5 hours of overtime Aaron is entitled to compensation for 526.5 hours of
unpaid overtime, calculated at $14,215.50.

22. Peak Recovery willfully and deliberately failed to pay Aaron overtime due him; thus
Aaron should be entitled to recover for unpaid wages at the overtime rate and for on-call
pay back three (3) years.

23. Aaron was required to retain legal counsel to assert his claim for back pay and if he is
awarded backpay for unpaid wages and any other damages, should be awarded his

attorneys fees and costs as the prevailing party under the FLSA.

COUNT 11~ DEFAMATION/ SLANDER PER SE

24. Aaron re-alleges the preceding paragraphs as though set forth in haec verba.

25. Defendant Pieksma told Aaron when she fired him that he would have to wait for “the
sexual allegation to blow over.” Aaron was never advised that there was a “sexual” issue,
nor was he ever questioned about any such incident or complaint

26. Four days after Aaron left Peak Recovery on March 24, 2018, an Ethics Complaint was
filed against him. When Aaron contacted Defendant Pieksma to ask what the Complaint
was about, Defendant Pieksma stated she did not know anything about the issue, nor who
filed it.

27. IBADCC sent a copy of the Complaint to Aaron, showing Defendant Pieksma created
and signed the Complaint after Aaron left employment l

28. The Complaint alleged falsities that the IBADCC Ethics Committee eventually
dismissed

29. Pieksma made the “Complaint” against Aaron knowing said statement was false.

COMPLA]NT
St. George v. Peak Recovery LLC and Pieksma
Case No. - 5 -

 

Case 1:18-cV-00525-E.]L Document 1 Filed 11/21/18 Page 6 of 8

30. Further, Pieksma published these false allegations to others

31. Through the pendency of the Ethics Committee’s investigation up to March 30, 2018,
Aaron was confronted by other counseling employees, public agencies that utilize Peak
Recovery’s services, and former clients, about the false allegations The former clients
advised Aaron that they were told Pieksma and/or Peak Recovery staff members stated
that Aaron was sexually inappropriate with a client and had to be released following his
separation Upon also being given the slanderous statements from Peak Recovery,
Aaron’s new employer fired him. People who heard the statements reported that
Defendant Pieksma was disparaging Aaron’s character by telling third parties about the
“sexual harassment” allegations in the Complaint and other falsities that adversely
reflected on his personal and professional reputation, impacted his ability to work, and
caused him pain and suffering for months.

32. Defendant Pieksma knew that the “allegation” that Plaintiff was sexually inappropriate
with a client was false.

33. Defendant Pieksma falsely reported to these third parties and entities who provide work
to Peak Recovery, or who received services from Peak Recovery, that Aaron was fired
for sexual misconduct or inappropriate sexual conduct. She also advised some of Aaron’s
coworkers that she terminated Aaron for sexual harassment These coworkers told clients
the same slanderous statements during group and individual sessions at Peak Recovery.

34. As a result of Pieksma’s slanderous and defamatory statements, Aaron lost employment
opportunities, wages, experienced pain and suffering, sleeplessness and incurred
attorney’s fees and costs in attempting to clear his name and address the complaint filed

by Pieksma.

COMPLAINT
St. George v. Peak Recovery LLC and Pieksma
Case No. _ 6 _

 

 

Case 1:18-cV-00525-E.]L Document 1 Filed 11/21/18 Page 7 of 8

35, Aaron should be awarded his attorney fees and costs as the prevailing party pursuant to

rdah@ code §12-121 and r.R.c.P. 54(@).

DEMAND FOR JURY TRIAL
Pursuant to F.R.C.P. 38(b), Plaintiff hereby demands a trial by jury on all issues
properly triable to a jury in this action.

PRAYER FGR RELIEF
WHEREFORE, Aaron requests judgment against Peak Recovery as follows:
1. A declaratory judgment that the practices complained of herein are unlawful under FLSA;.
2. An award of danrages, according to proof, including unpaid overtime wages pursuant to 29
U.S. § 216(b);
3. Pre and post-judgment interest as provided by law;
4. A judgment for damages arising from the defamatory statement
5. Attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b);
6. Any and all further elief as the Court deems just and proper in the premises

7/;(
ADATED this §§ day of W@/'“M`/, 2018.

SUSAN LYNN MIMURA & ASSOCIATES, PLLC

%lk w
By:\/Susan Lynn Mimura
Attorney for Plaintiff

COMPLA]NT
St. George v.» Peak Recovery LLC and Pieksma
Case No. _ 7 _

 

Case 1:18-cV-00525-E.]L Document 1 Filed 11/21/18 Page 8 of 8

VERIFICATION
State of Idaho )
) ss.
County of Ada )

AARON ST. GEORGE, being first duly sworn upon oath, does depose and say that:
l am the Plaintiff in the above-entitled action, l have read the foregoing Complaint and

Demand for Jury Trial, know the contents thereof, and believe that the same is true and
accurate to the best of his knowledge, information and belief.

/,>..c::>
AARoN sr gannon

sUBscRrBED AND sWoRN to before me this Zdl"` day er /U§vaww/ , 2018.

lA/////M

 

`\ `\‘“"R'gm"l , NOTARY PUBLIC FOR IDAHO
-‘ ~" .\~ A,,'Ll/ "" Residin at' I;m`% /,Cl>

"`." .0»¢° Apf$é. :O,’,‘ , g .. §
$:_,» 5 M Commrssion Ex ires:q q)ZB/Zél
= "R},Q‘\'A _, y P
5 .; N>CA §§ §

§ "- /°ua\.\°b@o §

"¢, @’-""n No-°.`~“;.b §

l "°°""'" s`
q l`;"lm(\)\Fn:g "`
COlV[PLA]NT

St. George v. Peak Recovery LLC and Pieksma
Case N0.

 

